Case 18-30849 Document 41 Filed in TXSB on 04/20/18 Page 1 of 4

IN THE UNITED STATES BANKRUPTCY-COURT
FOR THE SOUTHERN I)ISTRICT OF TEXAS

HOUST()N ])IVISION
In re: § .
§ Case No. 18-30849
BENDCO, INC. §
§ Chapter 11
Debtor §

AGREE]) ORI)ER FOR ADE§ !UATE PROTECTION AND CONDITIONING THE

AUTOMATIC STAY

Del)tor Bendco, Inc. (“Debtor”) and secured creditor Ascentium Capital LLC
(“Ascentiuin”) hereby stipulate and agree to the foliowing Order for adequate protection
payments and conditional lifting of the automatic stay as to certain personal property equipment
described beiow, and in support thereof represent as follows:

A. "f`he Debtor commenced this case on February 28, 2018 (the “Petition Date”), by
filing a Voluntary Petition under Chapter ll of the Banl<ruptcy Code.

B. Prior to the Petition Date, in April 2015, the Debtor and Ascentiuin entered into
written Equipment Finance Agreement No. 2153258 (the “Agreement”) pursuant to which
Ascentium agreed to finance the Debtor’s purchase of certain commercial equipment, more
particularly described as an Ai<yapak AK BEND Hydraulic Section Bending Machine, Model
APK-300 (the “Equipment”), from a third-party vendor. As consideration therefor, the Debtor
agreed to make certain specified montth payments to Ascentium and granted Ascentium a
security interest in the Equipment. A UCC-l Financing Statement was filed on April 23, 2015,
thereby perfecting Ascentiurn’s security interest in the Equiprnent.

C. The Debtor defaulted on the Agreernent and, prior to the Petiticn Date, Ascentium

tiied a state court suit against the Debtor which resulted in a Final Sulnmary Judginent (the

Page l of4

 

Case 18-30849 Document 41 Filed in TXSB on 04/20/18 Page 2 of 4

“Judgrnent”) being entered against the Debtor en June 30, 2017, for both monetary damages and
immediate possession oftire Equipment.

D. Thereafter, the Debtor and Ascentium entered into a forbearance agreement (the
“Forbcarance Agreement”) whereby Ascentium agreed to forbear from exercising its rights to
enforce the Judgrnent in exchange for certain specified monthly payments from the Debtor.
Prior to the Petition Date, the Debtor defaulted orr the For'bearance Agreement, and as a result of
such default, Ascentium became immediately entitled to enforce its Judgment, including
obtaining possession oftire Equipment.

E. The Equiprnent is still in the possession of the Debtcr and the Debtor asserts that
the Equipment is necessary for the Debter’s continued business operations

F. The Debtor and Ascentiurn have now reached an agreement Whicir ailows the
Debtor to remain in possession of the Equipment, on the terms set forth beiow, in exchange for
certain adequate protection payments

WHEREFORE, IT IS STIPULATED AND AGREED by tire Debtor and Ascentium, by
and through their respective counsel, as follows:

l. The Debtor shall make adequate protection payments to Ascentium in the amount
of $5,000.00 per month (each an “AP Payment”), the first AP Payment being due immediately
upon entry of an order approving this stipulation and thereafter orr the lst day of each successive
month beginning May i, 2018, until otherwise ordered by the Court.

2. In the event the Debtor fails to timely make an AP Payrnent, the automatic stay
shall terminate as to Ascentium without further notice, hearing or action by this Court with

respect to the Debtor and the Equipment and Ascentium shali be entitied to exercise its rights and

Pagc 2 of4

 

 

 

 

Case 18-30849 Document 41 Filed in TXSB on 04/20/18 Page 3 of 4

remedies pursuant to the Judgment and/or applicable non-bankruptcy iaw, including but not
limited to taking aii actions to obtain possession and dispose of the Equiprnent.

3. In the event the automatic stay terminates pursuant to paragraph 2, Ascentiurn
shall provide written notice cf the same to the Debtor and the Debtor’s counsel.

4. Notwithstanding anything else contained herein, tire automatic stay shall
terminate as to Ascentium without further notice, hearing or action by this Court immediately
upon dismissal of this case or conversion of this case to a case under Chapter 7 ofthe
Bankr'uptcy Code.

5. In the event the automatic stay terminates pursuant to this stipulation, the Debtor
shaii immediately surrender the Equipment to Ascentiurn.

6. In the event tire automatic stay terminates pursuant to this stipulation, the i4~day
stay of Fed. Ruie of Bankr. Proc. 4001(a)(3) is waived.

7. This stipuiation and any order approving this stipulation shail inure to the benefit
of and be enforceable by Ascentium’s successors and assigns.

8. Notbing herein shall preclude Ascentium or the Debtor from seeking any other cr

further reiief from this Court.

AGREED:

/s/ Melody G. Anderson
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Page 3 of 4

 

 

 

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Case 18-30849 Document 41

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ATTORNEYS FOR DEBTOR

Filed in TXSB on 04/20/18 Page 4 of 4

 

OR])ER

Pursuant to tire agreement cf the parties and good cause appearing, lT IS SO ORDERED.

Signed:

 

DAVID R. JONES
UNITEI) STATES BANKRUPTCY JUDGE

Page 4 of 4

 

 

 

